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            EXHIBIT 7
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              UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS



    IN RE:   PHARMACEUTICAL

    INDUSTRY AVERAGE                MDL No. 1456

    WHOLESALE PRICE LITIGATION      Master File No.

                                    01-CV-12257-PBS

    THIS DOCUMENT RELATES TO:       Subcategory No.

                                    06-CV-11337-PBS

    United States of America,

    ex reI. Ven-A-Care of the

    Florida Keys, Inc., v.

    Abbott Laboratories, Inc.,

    CIVIL ACTION NO.

    06-11337-PBS



                       VOLUME I of II



              The video taped deposition of STEVEN J.

    YOUNG, called by the United States for

    examination, pursuant to subpoena and pursuant to

    the Federal Rules of Civil Procedure for the




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 1   that I've done for Par have gotten into pretty      1   preparing the proposal for the bid.
 2   specific detail as to the whole process of sales    2         There may be more, but I think those are
 3   and distribution and contracting related to the     3   the -- kind of the bigger areas that are
 4   pharmaceutical or generics within the               4   summarized in my CV.
 5   pharmaceutical industry involved, you know,         5     Q. Those are the areas where you're acting as
 6   discussions with the client, things of that         6   an expert in connection with the report in this
 7   nature.                                             7   case?
 8         I think those are two of the bigger areas,    8     A. Those are the past experiences that
 9   but kind of more globally, you know, they're        9   bear -- that -- that give me experience that is
10   back -- my career really started, I did a couple   10   helpful in reaching some of the opinions in this
11   years of audit, but by probably '85, I started     11   case, yes.
12   doing government contracts work in general, some   12     Q. SO when you are at a cocktail party and
13   of which related to healthcare, which became a     13   somebody asks you what you do, what do you tell
14   bigger percentage over time. But there was a lot   14   them?
15   of work that I've done historically related to     15     A. I do healthcare consulting.
16   analyzing sales, pricing, discount, rebate,        16     Q. And not -- the -- the accountant
17   catalog price information for all sorts of         17   background is really not something you brought too
18   industries related to the Federal Supply Schedule  18   bear in this case, is it?
19   GSA and the Federal Supply Schedule and associated 19     A. No. I mean the reason why -- obviously,
20   with those, a lot of stuff that I had to kind of   20   the reason why I've had all those experiences is
21   do on the claims processing side and on the -- the 21   everything that we do. I shouldn't say
22   pharmaceutical side.                               22   "everything."
                                            Page 135                                                 Page 137
 1         Since I was a CPA, a lot of what I did was    1         Most of what I've done over the course of
 2   to calculate historic issues with either            2   my career relates to quantification of historic
 3   noncompliance with federal contracting, you know,   3   issues or projections of, you know, costs into the
 4   either most favored customer pricing or cost-based  4   future. So most everything I do relates to
 5   contracting principles or helping attorneys         5   financial data, accounting analyses of the various
 6   through that process or on the reverse side, when   6   accounting records that are maintained related -­
 7   there was a change order quantifying how much more 7    whether it's health plan reimbursement, whether
 8   the company should be paid because of that change   8   it's drug sales and distribution, whether it's,
 9   order.                                              9   you know, most favored customer pricing under the
10         And then also, that kind of evolved into     10   GSA schedule, it all is basically kind of that
11   then the health plan related proposal preparation  11   accounting side of things that -- that I look at.
12   work that you may have seen in my CV that relates  12   I don't look at -- I don't do technical proposals
13   to understanding the Tri-Care program and working 13    for healthcare. I don't tell people how to do
14   with Medicare contractors, more on their           14   medical management. I help quantify the
15   government contract side, understanding how their  15   implications of medical management, for example.
16   operations work, understanding their medical       16      Q. The -- your formal education background is
17   management programs, helping them quantify the     17   that you have a bachelor's degree in accounting;
18   cost estimates for that, go through head count     18   right?
19   reduction, determinations for their competitive    19      A. That's correct.
20   bidding process and really becoming kind of        20      Q. From -- from Northern Illinois University?
21   intimate with their operations, to be able to      21      A. That's correct.
22   do -- to help them through the process of -- of    22      Q. And you don't have any other degrees;
                                                                              35 (Pages 134 to 137)
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 1   right?                                              1    reviewed by Mr. Young in preparation for his
 2      A. No.                                           2    deposition.
 3      Q. Have you -- sorry. Let me start over. We      3          MR. LAVINE: And, of course, I have not
 4   have one minute left, so I'll keep this as a short  4    reviewed what you produced. We'll just deal with
 5   question.                                           5    it separately afterwards. You know, of course, we
 6     A. Okay.                                          6    don't waive any -- any of our positions we might
 7      Q. Have you taken any other formal               7    want to take in that respect.
 8   postgraduate courses other than continuing          8    BY MR. LAVINE:
 9   professional education?                             9       Q. I think we left off squeezing in some
10     A. Other than continuing professional            10    questions about you are currently a CPA in the
11   education, n o . ·                                 11    State of Illinois in good standing, that's
12      Q. Okay. And you are a CPA in the State of      12    correct; right?
13   Illinois?                                          13      A. That's correct.
14      A. That's correct.                              14       Q. Okay. Are you Certified -- are you a
15      Q. And still active?                            15    Certified Fraud Examiner?
16     A. That's correct.                               16       A. No, I am not.
17      Q. In good standing?                            17       Q. Have you ever taken any courses in
18     A. Yes.                                          18    economics?
19         MR. LAVINE: We are down to a minute so I     19       A. Other than my undergraduate degree, no.
20   might as well stop.                                20       Q. And do you have any degree in economics or .
21         THE VIDEOGRAPHER: Going off the record at 21       econometrics?
22   12:32 p.m.                                         22       A. No.
                                            Page 139                                                 Page 141
 1                (Whereupon a recess was had.)          1     Q. And am I right the only publication that
 2         THE VIDEOGRAPHER: Beginning videotape 2           you've played a role in as an author, you're a
 3   nnumber four. We're back on the record at           3   coauthor with three other folks on an article
 4   1:37 p.m.                                           4   regarding Medicare as a secondary payer?
 5         MR. LAVINE: David, do you want to just        5     A. That's correct.
 6   quickly clarify that you -­                         6     Q. But no other publications besides that?
 7         MR. TORBORG: Sure.                            7     A. No.
 8         MR. LAVINE: -- provided amended               8     Q. What is Chris Rohn's educational
 9   objections?                                         9   background?
10         MR. TORBORG: Yeah.                           10     A. I don't know his undergraduate degree for
11         During the lunch break, we had discovered    11   certain, but he has an undergraduate degree from
12   there were a couple of things that were not on the 12   University ofIndiana and an MBA from
13   consideration list -- not consideration list -- in 13   Northwestern.
14   the bullet point list of the objections and        14     Q. And would I be correct that you're not-­
15   responses to the latest subpoena that were not on  IS   you would not be familiar with any postgraduate
16   the list that we needed to add because he did      16   courses or education he's taken or other
17   review them, and then there were a couple of       17   publications he's -­
18   things that -- that were not considered by him     18     A. Other than the MBA that I mentioned, no.
19   that were on the list. So I orally conveyed the    19     Q. Is -- is there any other thing that you
20   changes to Mr. Lavine and have served upon him by 20    can describe regarding Mr. Rohn's background that
21   hand an amended objections and responses as well 21     informed or supported the expertise he was
22   as provided him copies of documents that were      22   utilizing and the support he provided vou in

                                                                              36 (Pages 138 to 141)
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 1   that I've ever seen, extrapolation occurs and is    1     the claims in the ten states is different than the
 2   accepted based on my past experience only when      2     variability of the claims in the 38 states, you're
 3   it's an entire population with a randomly selected  3     saying there's no way to quantify that variability
 4   sample. That's the normal methodology that I've     4     and why it's too different to extrapolate?
 5   seen used in my experience.                         5       A. The -- again, the normal approach in these
 6      Q. SO you don't actually have any experience     6     situations would be to get the full claims data
 7   with the approach taken by Dr. Duggan?              7     set, draw a statistically valid random sample,
 8         THE REPORTER: Sorry. I didn't hear after      8     come up with a point estimate and a range within
 9   "actually." You said"actually. "                    9     which that point estimate applied.
10   BY MR. LAVINE:                                     10           I did not have the claims data sets
11      Q. You don't have actually have any             11     necessary to perform that approach or to analyze
12   experience with the method utilized by Dr. Duggan. 12     that claims data in relationship to the claims
13         MR. TORBORG: Object to form.                 13     data that he looked at to do any type of
14         THE WITNESS: That's right. Of the            14     quantification.
15   probably two-dozen calculations I've seen one way 15            I wasn't asked to do that. The Myers &
16   or another, I've never seen anyone do it like      16     Stauffer summary combined with some of the
17   Dr. Duggan has done.                               17     information that was included on your list from
18   BY MR. LAVINE:                                     18     yesterday demonstrates that there's not
19      Q. But you're not an economist; right?          19     homogeneity between the populations, and I believe
20      A. That's correct.                              20     that that's adequate to reach the conclusion that
21      Q. But there are Ph.D. economists that were     21     he hasn't properly -- given the fact that he's
22   retained by Huron Consulting, right, that -- that  22     deviated from the -- the normal way that I've ever
                                               Page 215                                                 Page 217
 1   were employed by Huron?                               1   seen this calculation done supports my conclusion.
 2     A. There are economists that work for Huron,        2     Q. Yeah. Because Abbott only hired you to do
 3   at least I believe there are still economists that    3   the critique and not to actually quantify the
 4   work for Huron, that's correct.                       4   scope of the error, you didn't actually do
 5     Q. And you're not a statistical expert;             5   anything to quantify the scope of the error;
                                                                                                                  '.
 6   right?                                                6   right?
 7     A. No. I apply statistics, as most CPAs do          7         MR. TORBORG: Object to form.
 8   in -- in the normal course of my work.                8         THE WITNESS: I was not asked to do that,
 9     Q. And although you disagree with the               9   no.
10   extrapolation that was performed in this case for    10   BY MR. LAVINE:
11   various reasons, you didn't actually perform any     11     Q. Okay. So what is the methodology that you
12   quantitative analysis to evaluate the scope of the   12   say that Dr. Duggan failed to follow when he based
13   error you contend was caused thereby?                13   his extrapolation on data related to ten states?
14     A. I was asked to critique his analysis, and       14         MR. TORBORG: Object to form.
15   his analysis did not take it to the stage that       15         THE WITNESS: Could you repeat that
16   there could be quantitative critiques made of -­     16   question?
17   since he didn't, he chose to ignore all of the       17   BY MR. LAVINE:
18   issues in his calculation, it was possible to do     18     Q. What -- what is the principle or standard
19   quantitative -- it was not possible for me to do     19   that you say Dr. Duggan failed to meet when he
20   quantitative calculations of the impact of those,    20   based his extrapolation on a sample often states?
21   no.                                                  21     A. Based on my past experience in performing
22     Q. Well, when you say that the variability of      22   overcalculation and undercalculation -- or
                                                                                55 (Pages 214 to 217)

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